     CASE 0:16-cv-01127-JRT-DTS Document 298 Filed 03/19/19 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

John Doe,
                                                 Case No: 16-cv-1127 (JRT/DTS)
               Plaintiff,
v.                                                        NOTICE
                                                         OF APPEAL
University of St. Thomas,

               Defendant.


         Notice is hereby given that John Doe, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Eighth Circuit from:

the Memorandum Opinion and Order on Defendant’s Motion to Dismiss, dated

March 1, 2017, granting Defendant’s Motion to Dismiss (Docket No. 63); Order,

dated August 6, 2018, denying Plaintiff’s Motion to Compel the Deposition of

Jane Doe and denying Plaintiff’s Motion Seeking Leave to Amend Pleadings

(Docket No. 285); Memorandum Opinion and Order Granting Defendant’s Motion

for Summary Judgment, dated February 21, 2019 (Docket No. 296);               and

Judgment in a Civil Case, dated February 21, 2019 (Docket No. 297).


Dated: March 19, 2019                           MCGRAW LAW FIRM, P.A.

                                                /s/ Beau D. McGraw

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